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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 9:08-80736-Civ-Marra

  JANE DOE #1 and JANE DOE #2

         v.

  UNITED STATES
  __________________________/

   ORDER GRANTING MOTION TO TEMPORARILY SEAL PORTIONS OF JANE DOE
                        1 AND 2’S REPLY BRIEF

         It is hereby ordered that Jane Doe 1 and 2’s motion to temporarily seal portions of their

  Reply to Intervenor Epstein’s Brief in Opposition to Proposed Remedies in the public docket until

  the Court has further evaluated the sealing issue (DE 467) is GRANTED IN PART AND

  DENIED IN PART. The document at DE 466 shall remain on the public docket with redactions.

  Docket entry 466 is not sealed.

         In addition, in light of Plaintiffs’ request, and given that no opposition was ever filed, the

  Clerk is directed to UNSEAL docket entries 348, 354 and 358.

          DONE AND ORDERED in Chambers at Palm Beach County, Florida, this 8th day of

  August, 2019.




                                                               KENNETH A. MARRA
                                                               United States District Judge
